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 B O I E S ,             S C H I L L E R                 &      F L E X N E R                 L L P
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                                                         March 17, 2014

     VIA ECF AND HAND DELIVERY

     The Honorable Samuel P. Conti
     United States District Court
     Northern District of California
     Courtroom No. 1, 17th Fl.
     450 Golden Gate Avenue
     San Francisco, CA 94102

            Re:     In re Cathode Ray Tube (“CRT”) Antitrust Litigation
                    Case No. 07-5944 SC; MDL No. 1917

     Dear Judge Conti:

             The Direct Action Plaintiffs (“DAPs”) write to respond to the letter submitted by
     Defendants on March 12, 2014 regarding the DAPs’ Motion to Compel production of the
     European Commission’s (the “EC”) decision concerning its investigation into the price-fixing of
     CRTs. See Letter from John Talladay to Special Master Vaughn R. Walker, Mar. 12, 2014 [Dkt.
     2452] (attached hereto as Exhibit A). This motion was fully briefed before Judge Walker, and
     Judge Walker subsequently recommended that the referral of this motion be withdrawn. The
     Court adopted that recommendation [Dkt. 2432], and the motion stands submitted to the Court
     for resolution.

             Defendants’ letter addresses the applicability of the Delaware Chancery Court’s decision
     in Vichi v. Koninklijke Philips Electronics, N.V., et al., which had been brought to this Court’s
     attention in the DAPs’ Statement of Recent Decision submitted to Special Master Walker on
     March 4, 2014 [Dkt. 2448].

            The DAPs note that concerns about confidentiality which existed in the Vichi case, where
     only Philips and LPD were parties, do not exist here—each and every defendant found liable by
     the EC is a party in this MDL litigation and subject to the Stipulated Protective Order [Dkt. 306].
     As such, no redaction of the opinion by the EC would be necessary. In addition, and in light of
     concerns about confidentiality raised in Defendants’ letter and their opposition to the motion to
     compel, the DAPs will agree not to challenge any designation of the EC decision as highly
     confidential pursuant to the protective order.

                                                          Sincerely,

                                                          /s/ Philip J. Iovieno

                                                          Philip J. Iovieno

                                                          Liaison Counsel for Direct Action Plaintiffs
